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9

10
                             UNITED STATES DISTRICT COURT
11
                           CENTRAL DISTRICT OF CALIFORNIA
12

13     MING GLOBAL LIMITED, a Hong Kong             Case No. 8:20-cv-01852-JVS-KES
       company,
14                                                  PROOF OF SERVICE
                     Plaintiff,
15            v.
        MONARCH HOLDINGS INC., a Nevada             District Judge James V. Selna
16                                                  Magistrate Judge Karen E. Scott
        corporation, d/b/a MONARCH
17      INTERNATIONAL INC., VERONICA                SAC Filed: July 19, 2021
        SO a/k/a MARIA VERONICA SO a/k/a
18      MARIA SO, an individual, IRVINE
        MANAGEMENT TRANSFERS AND
19      HOLDINGS CORP, a New York
        corporation, ALYSSA D'URSO a/k/a
20      ALYSSA DURSO, an individual; and
        Does 1 through 10 inclusive,
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                   Defendants.
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                                                                   Case No. 8:20-cv-01852-JVS-KES
                                         PROOF OF SERVICE
     Case 8:20-cv-01852-JVS-KES Document 81 Filed 08/15/22 Page 2 of 2 Page ID #:2329


                                        PROOF OF SERVICE
1
       STATE OF CALIFORNIA, COUNTY OF SANTA CLARA
2
            At the time of service, I was over 18 years of age and not a party to this action. I
3      am employed in the County of Santa Clara, State of California. My business address is
       600 Hansen Way, Palo Alto, California 94304.
4
              On August 15, 2022, I served true copies of the following document(s) described
5      as (1) PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL, WITHOUT
       PREJUDICE (ECF NO. 79); (2) PLAINTIFF’S NOTICE OF MOTION AND
6      MOTION OF VOLUNTARY DISMISSAL, WITHOUT PREJUDICE (ECF NO.
       80); (3) [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION AND
7      MOTION OF VOLUNTARY DISMISSAL, WITHOUT PREJUDICE (ECF NO.
       81-1) on the interested parties in this action as follows:
8
                    Veronica So a/k/a Maria Veronica So a/k/a Maria So
9                   33 Mistal
                    Aliso Viejo, CA 92656
10
              [ ] BY EMAIL: I caused a copy of the document(s) to be sent from e-mail
11     address jennifer.ilas@bakermckenzie.com to the persons at the email addresses listed in
       the Service List. I did not receive, within a reasonable time after the transmission, any
12     electronic message or other indication that the transmission was unsuccessful.
13            [ ] BY MAIL: I enclosed the document(s) in a sealed envelope or package
       addressed to the persons at the addresses listed in the Service List and placed the
14     envelope for collection and mailing, following our ordinary business practices. I am
       readily familiar with the practice of Baker & McKenzie LLP for collecting and
15     processing correspondence for mailing. On the same day that correspondence is placed
       for collection and mailing, it is deposited in the ordinary course of business with the
16     United States Postal Service, in a sealed envelope with postage fully prepaid. I am a
       resident or employed in the county where the mailing occurred. The envelope was placed
17     in the mail at Palo Alto, California.
18           [X] (BY EXPRESS MAIL) I placed each such sealed envelope, to be collected at
       Baker & McKenzie LLP, Palo Alto, California, following ordinary business practices. I
19     am familiar with the practice of Baker & McKenzie for collection and processing of
       overnight packages, said practice being that in the ordinary course of business, overnight
20     packages are picked up by a representative of that company to be sent that same day.
21            I declare under penalty of perjury under the laws of the United States of America
       that the foregoing is true and correct and that I am employed in the office of a member of
22     the bar of this Court at whose direction the service was made.
23           Executed on August 15, 2022, at Palo Alto, California.
24

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26                                                  Jennifer Ilas
27

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                                                     -1-                 Case No. 8:20-cv-01852-JVS-KES
                                            PROOF OF SERVICE
